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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 YUSEF SALAAM,
 RAYMOND SANTANA,                                     CIVIL NO.
 KEVIN RICHARDSON,
 ANTRON BROWN,
 and                                                  COMPLAINT
 KOREY WISE,
                                                      JURY TRIAL DEMANDED
                       Plaintiffs,

         v.


 DONALD J. TRUMP,

                       Defendant.


                                 CIVIL ACTION COMPLAINT

       1.       This case involves false and defamatory statements made by Defendant, Donald J.

Trump, during a presidential debate that took place on September 10, 2024, in Philadelphia,

Pennsylvania.

       2.       During the debate, Defendant Trump made several statements concerning the

“Central Park Five.” The Central Park Five, now also known as the Exonerated Five, are five

individuals who, as teenagers, were wrongfully convicted of a series of assaults that occurred in

Central Park, New York City on April 19, 1989.

       3.       The Central Park Five or Exonerated Five is comprised of Plaintiffs Yusef Salaam,

Raymond Santana, Kevin Richardson, Antron Brown and Korey Wise. Plaintiffs were wrongfully

convicted of crimes they did not commit when they were between fourteen and sixteen years old

and spent the formative years of their lives in prison.




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        4.      In 2002, based on newly discovered DNA evidence and the confession of the true

perpetrator, Plaintiffs were exonerated. Plaintiffs have spent the last two decades attempting to

rebuild their lives.

        5.      At the September 10, 2024 presidential debate, Defendant Trump falsely stated that

Plaintiffs killed an individual and pled guilty to the crime. These statements are demonstrably

false. Plaintiffs never pled guilty to any crime and were subsequently cleared of all wrongdoing.

Further, the victims of the Central Park assaults were not killed.

        6.      Plaintiffs have suffered injuries as a result of Defendant Trump’s false and

defamatory statements and bring this lawsuit to obtain redress.

                                          THE PARTIES

        7.      Plaintiff Yusef Salaam is now 50 years old and is a New York City Council Member

representing District Nine, although he brings suit here only in his personal capacity. Plaintiff

Salaam is a citizen and resident of the State of New York.

        8.      Plaintiff Raymond Santana is now 50 years old and is an author, fashion designer

and civil rights advocate. Plaintiff Santana is a citizen and resident of the State of Georgia.

        9.      Plaintiff Kevin Richardson is now 50 years old and is a motivational speaker and

philanthropist. Plaintiff Richardson is a citizen and resident of the State of New Jersey.

        10.     Plaintiff Antron Brown (formerly known as Antron McCray) is now 50 years old

and is retired. Plaintiff Brown is a citizen and resident of the State of Georgia.

        11.     Plaintiff Korey Wise is now 52 years old and is a civil rights advocate. Plaintiff

Wise is a citizen and resident of the State of New York.




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       12.     Defendant Donald J. Trump is the Republican nominee for President of the United

States, although he is sued here only in his personal capacity. Defendant Trump is a citizen and

resident of the State of Florida.

                                    JURISDICTION AND VENUE

       13.     This Court has subject matter jurisdiction because the Plaintiffs and the Defendant

are citizens of different States and the amount in controversy exceeds the sum or value of $75,000,

exclusive of interest and costs. See 28 U.S.C. § 1332(a).

       14.     Venue is proper in this Court because a substantial part of the events or omissions

giving rise to the claim occurred in this District. See 28 U.S.C. § 1391(b)(2).

       15.     The Court has personal jurisdiction over Defendant Trump pursuant to

Pennsylvania’s long-arm statute. See 42 Pa. C.S. § 5322.

                                    FACTUAL ALLEGATIONS

       A.     The “Central Park Five” Case

       16.     On the night of April 19, 1989, Ms. Patricia Meili was assaulted and raped while

jogging in Central Park.

       17.     On the same night, Mr. David Lewis and Mr. John Loughlin were assaulted while

jogging in a different part of the park.

       18.     Plaintiffs, who were between fourteen and sixteen years old at the time, were taken

in for questioning in connection with these crimes. Plaintiffs would later come to be collectively

known as the “Central Park Five” or the “Exonerated Five.”

       19.     While in police custody, Plaintiffs were each separately subjected to hours of

coercive interrogation, under duress, with no attorney present and often without a parent or

guardian present.



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        20.     Plaintiffs all initially denied having any knowledge of the Central Park assaults.

However, after hours of interrogation, four of the Plaintiffs agreed to provide written and

videotaped statements in which they falsely admitted to having been present during the assaults.

        21.     Plaintiff Salaam did not provide a written or videotaped statement because his

mother intervened during his interrogation. However, the police detectives allegedly took notes of

his responses during his hours-long interrogation, in which Plaintiff Salaam also purportedly

admitted to having been present during the assaults.

        22.     The statements were contradictory, unreliable and inconsistent with each other and

with the objective evidence of the assaults.

        23.     In fact, Plaintiffs were not involved in the assaults in any way, and their statements

were the product of coercion and duress. Plaintiffs all recanted their coerced statements shortly

after their interrogations.

        24.     On May 1, 1989, only eleven days after the horrendous assault on Ms. Meili took

place, and while public sentiment against these young boys was still high, Defendant Trump

published a full-page advertisement in four New York City newspapers. The advertisement alluded

to the assaults in Central Park without specifically identifying the suspects and called for the City

of New York to “[s]end a message loud and clear to those who would murder our citizens and

terrorize New York—BRING BACK THE DEATH PENALTY AND BRING BACK OUR

POLICE!”

        25.     A true and correct copy of the advertisement is attached as Exhibit “A.”

        26.     On May 4, 1989, Plaintiffs were indicted and charged with attempted murder, rape,

sodomy, assault, robbery, sexual abuse and riot.




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       27.     Plaintiffs pled not guilty on all counts. They would all maintain their innocence

throughout their trials and years in prison—even when this later hindered them from obtaining

parole and extended their incarcerations.

       28.     Plaintiffs Salaam, Santana and Brown were tried jointly beginning June 25, 1990.

After ten days of deliberation, the jury convicted each of them of assault in connection with the

attack on Mr. Lewis, assault and robbery in connection with the attack on Mr. Loughlin, assault

and rape in connection with the attack on Ms. Meili and of riot. The jury acquitted each of them

of attempted murder and sodomy.

       29.     Plaintiffs Richardson and Wise were tried jointly beginning October 22, 1990. After

eleven days of deliberation, the jury convicted Plaintiff Richardson on all counts. Plaintiff Wise

was convicted of assault and sexual abuse with respect to the attack on Ms. Meili and of riot. He

was acquitted of the remaining charges.

       30.     As the Manhattan District Attorney’s Office would later acknowledge in court

filings: “the People’s case at both trials rested almost entirely on the statements made by the

defendants” during their interrogations. In fact, there was no forensic evidence that linked these

five youths to this offense.

       31.     Plaintiff Wise was sentenced as an adult to five to fifteen years in prison. The

remaining Plaintiffs were sentenced as juveniles to five to ten years.

       32.     While in prison in 2002, Plaintiff Wise met the true perpetrator of the attack on Ms.

Meili, Matias Reyes, who was incarcerated at the same prison for a series of rapes committed

around the same time as the Central Park assaults. After the encounter, Reyes confessed to prison

staff that he was the true perpetrator of the assault and rape of Ms. Meili.




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       33.      Following his confession to prison staff, Reyes met with prosecutors from the

Manhattan District Attorney’s Office and provided details that only the true perpetrator could

know. The police also performed a DNA test that conclusively showed that Reyes was the true

perpetrator. Prior DNA tests on the five who were convicted of these crimes were negative in all

respects.

       34.      Following these revelations, the Manhattan District Attorney’s Office reopened its

investigation into the Central Park assaults.

       35.      At the conclusion of a thorough re-investigation, Nancy Ryan, the Chief of the Trial

Division of the District Attorney’s Office, filed an affirmation on behalf of the District Attorney’s

Office recommending that Plaintiffs’ convictions be vacated and that the indictments be dismissed.

       36.      Ms. Ryan wrote: “the People’s case at both trials rested almost entirely on the

statements made by the defendants. . . . But a comparison of the statements reveals troubling

discrepancies. . . . The accounts given by the five defendants differed from one another on the

specific details of virtually every major aspect of the crime – who initiated the attack, who knocked

the victim down, who undressed her, who struck her, who held her, who raped her, what weapons

were used in the course of the assault, and when in the sequence of events the attack took place . .

. In many other respects the defendants’ statements were not corroborated by, consistent with, or

explanatory of objective, independent evidence. And some of what they said was simply contrary

to established fact.”

       37.      Given the unreliability of the statements, as well as the “newly discovered” and

“incontrovertible proof” tying Matias Reyes to the assault, the District Attorney’s Office

recommended that the charges relating to the attack on Ms. Meili be vacated.




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        38.     With respect to the attacks on Mr. Lewis and Mr. Loughlin, Ms. Ryan stated: “[T]he

trial evidence as to the other charges, like the evidence as to the attack on the female jogger,

consisted almost entirely of the defendants’ statements.” Consequently, “there was no significant

evidence at trial establishing the defendants’ involvement in the other crimes of which they stand

convicted that would not have been substantially and fatally weakened by the newly discovered

evidence in this matter.”

        39.     On December 19, 2002, New York Supreme Court Justice Charles J. Tejada vacated

Plaintiffs’ convictions and dismissed the indictments, as the District Attorney’s Office had

recommended.

        40.     In 2003, Plaintiffs brought suit against the City of New York for, among other

things, false arrest, malicious prosecution and racially motivated conspiracy. The lawsuit settled

for $41 million in 2014, with then-Mayor De Blasio stating that the settlement was a “moral

obligation to right this injustice.”

        B.     The September 10, 2024 Presidential Debate

        41.     On September 10, 2024, Defendant Trump participated in a presidential debate

hosted at the National Constitution Center in Philadelphia, Pennsylvania. The debate was watched

live by more than 67 million people in the United States. The video and transcript of the debate

have since been viewed by many others.

        42.     During the segment of the debate dedicated to “race and politics in this country,”

Defendant Trump’s opponent, Vice President Kamala Harris, made the following statement: “Let’s

remember, this is the same individual [Trump] who took out a full-page ad in The New York Times

calling for the execution of five young Black and Latino boys who were innocent, the Central Park

Five. Took out a full-page ad calling for their execution.”



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       43.       Vice President Harris’s comment came as part of a longer answer relating to “race

and politics.”

       44.       Defendant Trump responded: “[T]hey come up with things like what she just said

going back many, many years when a lot of people including Mayor Bloomberg agreed with me

on the Central Park Five. They admitted – they said, they pled guilty. And I said, well, if they pled

guilty they badly hurt a person, killed a person ultimately. And if they pled guilty – then they pled

we’re not guilty.”

       45.       Defendant Trump’s statements came as part of a longer response to Vice President

Harris’s comments.

       46.       A true and correct videorecording of the debate is available at the following link:

https://abcnews.go.com/Politics/watch-full-abc-news-presidential-debate/story?id=113470583.

The relevant portion of the debate can also be accessed at the following link:

https://exoneratedfiveversustrump.com.

       47.       Defendant Trump’s statements were of or concerning Plaintiffs, collectively known

as the “Central Park Five.”

       48.       Defendant Trump’s statements were false and defamatory in numerous respects.

       49.       Plaintiffs never pled guilty to the Central Park assaults. Plaintiffs all pled not guilty

and maintained their innocence throughout their trial and incarceration, as well as after they were

released from prison.

       50.       None of the victims of the Central Park assaults were killed.

       51.       Michael Bloomberg, referenced in Mr. Trump’s remarks, would not become mayor

of New York until 2002. The mayor at the time of the Central Park assaults was Ed Koch. Mayor

Koch did not agree with Defendant Trump’s statements regarding the assaults. In fact, in the 1989



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advertisement, Defendant Trump acknowledged: “Mayor Koch has stated that hate and rancor

should be removed from our hearts. I do not think so.” In response to Mr. Trump’s advertisement,

Mayor Koch was quoted as saying: “Nobody I know of in Western society believes that under any

circumstances would you ever impose the death penalty on juveniles.” Further, during a 1989

interview discussing the Central Park Five, Mayor Koch carefully noted: “We always have to say

‘alleged’ because that’s the requirement.”

           52.   Defendant Trump also omitted key facts, further rendering his statements false,

misleading and defamatory. These include, among other things, the fact that the Manhattan District

Attorney’s Office later acknowledged that the teens’ confessions were unreliable and conflicted

with the objective evidence; that four of the five were acquitted of attempted murder; that all five

men’s convictions were later vacated; that the true perpetrator, Matias Reyes, confessed; that DNA

evidence confirmed that Reyes was the true perpetrator; and that the City of New York ultimately

agreed to pay $41 million for its conduct toward Plaintiffs.

           53.   Defendant Trump’s statements of or concerning Plaintiffs on September 10, 2024

were made negligently, with knowledge of their falsity and/or with reckless disregard for their

falsity.

           54.   Defendant Trump’s false and insulting statements about Plaintiffs were defamation

per se in that they ascribe to Plaintiffs the commission of criminal offenses, including offenses for

which Plaintiffs have never been charged or accused, offenses for which they were acquitted at

trial and offenses for which they were conclusively exonerated and their convictions vacated.

           55.   Defendant Trump’s statements about Plaintiffs were also defamation per se because

the Central Park assaults involved rape, and thus, by ascribing the commission of the assaults to

Plaintiffs, Defendant Trump was also ascribing to Plaintiffs serious sexual misconduct.



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        56.    Defendant Trump’s conduct at the September 10 debate was extreme and

outrageous, and it was intended to cause severe emotional distress to Plaintiffs.

        57.    Plaintiff Salaam attended the September 10 debate in person and was in the room

when Defendant Trump made his false and defamatory statements.

        58.    After the debate, Defendant Trump passed through the post-debate “spin room”

fielding questions from attendees.

        59.    As Defendant Trump approached Plaintiff Salaam, other attendees asked Defendant

Trump, “Will you apologize to the Exonerated Five?” and “Sir, what do you say to a member of

the Central Park Five, sir?”

        60.    When Defendant Trump did not respond, Plaintiff Salaam said, “President Trump,

I’m Yusef Salaam, one of the Exonerated Five. How are you doing?”

        61.    Defendant Trump responded, “Ah, you’re on my side then.”

        62.    Plaintiff Salaam then said, “No, no, no, I’m not on your side.”

        63.    Defendant Trump proceeded to wave his hand at Plaintiff Salaam, smile and walk

away.

        64.    Plaintiff Salaam was attempting to politely dialogue with Defendant Trump about

the false and defamatory statements that Defendant Trump had made about Plaintiffs less than an

hour earlier, but Defendant Trump refused to engage with him in dialogue.

        65.    A recording of the exchange can be accessed at the following link:

https://exoneratedfiveversustrump.com.

        C.    Defendant Trump’s pattern of wrongful conduct toward Plaintiffs

        66.    Defendant Trump’s conduct at the September 10 debate was part of a continuing

pattern of extreme and outrageous conduct toward Plaintiffs stretching back decades.



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       67.     Defendant Trump has previously made numerous public statements demonstrating

that he is familiar with the Central Park assaults, the criminal case, the trials, the exoneration and

the settlement with the City, and that he therefore knew that the statements he made on September

10, 2024 were false and misleading.

       68.     Like his statements at the September 10 debate, many of Defendant Trump’s past

statements are themselves false, defamatory and part of a continuing pattern of extreme and

outrageous conduct directed at Plaintiffs.

       69.     By Defendant Trump’s own admission, his conduct toward Plaintiffs is borne out

of personal animus and an intent to make the men suffer. As Defendant Trump stated in his 1989

advertisement: “I want to hate these muggers and murderers. They should be forced to suffer . . . I

want to hate these murderers and I always will . . . I am looking to punish them. . . . I want them

to understand our anger. I want them to be afraid.”

       70.     On April 24, 2013, Defendant Trump tweeted his impressions of a documentary

film about the Central Park Five or Exonerated Five, which he described as a “one sided piece of

garbage that didn’t explain the.horrific [sic] crimes of these young men while in park [sic].”

       71.     Defendant Trump was referring to a 2012 film by documentarian Ken Burns titled

“The Central Park Five.” The documentary describes in detail the true circumstances of the Central

Park assaults, the subsequent legal proceedings and the men’s ultimate exoneration. The film

explains that the Central Park Five or Exonerated Five never pled guilty and that the victims did

not die.

       72.     Given that Defendant Trump has seen the film, he knew that his statements at the

September 10 debate were false, misleading and defamatory.




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        73.     Defendant Trump falsely stated in his April 24, 2013 tweet about the documentary

that the Central Park Five committed “horrific crimes . . . while in park [sic].” This statement,

written long after Plaintiffs had been exonerated, was itself false, defamatory and part of a

continuing pattern of extreme and outrageous conduct.

        74.     On June 29, 2013, a Twitter user asked Defendant Trump: “How do you feel that

the central park 5 were innocent.” Defendant Trump responded: “Innocent of what-how many

people did they mugg [sic]?”

        75.     Defendant Trump did not claim in this tweet that Plaintiffs had pled guilty to

assaulting and killing someone like he did at the September 10 debate, because he knows that this

is false.

        76.     However, Defendant Trump stated in his June 29, 2013 tweet that Plaintiffs were

guilty of mugging. This statement was itself false, defamatory and part of a continuing pattern of

extreme and outrageous conduct.

        77.     On June 21, 2014, Defendant Trump wrote an editorial in the New York Daily News

regarding the civil settlement with the City of New York in which he called the settlement a

“disgrace,” stated that “[t]hese young men do not exactly have the pasts of angels,” and asked

rhetorically: “What about the other people who were brutalized that night, in addition to the

jogger?”

        78.     Defendant Trump did not claim in this editorial that Plaintiffs had pled guilty to

assaulting and killing someone like he did at the September 10 debate, because he knows that this

is false.




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         79.    However, Defendant Trump’s derogatory comments and insinuations of criminality

directed at Plaintiffs in the editorial were themselves false, defamatory and part of a continuing

pattern of extreme and outrageous conduct.

         80.    On June 18, 2019, Defendant Trump was asked by a reporter: “The Central Park

Five, they’ve been exonerated, there have been movies and videos . . . You came out with a full-

page ad saying they should die, they should have the death penalty.” Defendant Trump responded:

“Why do you bring that question up now? It’s an interesting time to bring it up. You have people

on both sides of that. They admitted their guilt. If you look at Linda Fairstein and if you look at

some of the prosecutors, they think that the City should never have settled that case. So we’ll leave

it at that.”

         81.    Defendant Trump did not claim in his response to the reporter that Plaintiffs had

pled guilty to assaulting and killing someone like he did at the September 10 debate, because he

knows that this is false.

         82.    However, the clear implication of Defendant Trump’s statement was that Linda

Fairstein, a prosecutor on the Central Park assault case, continues to believe that Plaintiffs were

rightfully convicted of assaulting and raping Ms. Meili. In fact, while Ms. Fairstein has made some

negative comments about Plaintiffs, she nevertheless wrote in a Wall Street Journal editorial on

June 10, 2019, less than two weeks before Defendant Trump’s statement: “Mr. Reyes’s confession,

DNA match and claim that he acted alone required that the rape charges against the five be vacated.

I agreed with that decision, and still do.”

         83.    Defendant Trump also omitted the fact that Manhattan District Attorney Robert

Morgenthau and Chief of the Trial Division Nancy Ryan, who were responsible for overseeing the

prosecution, formally recommended that all charges against Plaintiffs be vacated and the



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indictments dismissed. This further renders Defendant Trump’s June 18, 2019 statement regarding

the views of prosecutors on the case false and misleading.

        84.     Defendant Trump’s false and misleading statements to reporters on June 18, 2019

were part of a continuing pattern of extreme and outrageous conduct toward Plaintiffs.

        85.     Plaintiffs suffered harm, including severe emotional distress and reputational

damage, as a direct result of Defendant Trump’s false and defamatory statements at the September

10 debate, as well as his continuing pattern of extreme and outrageous conduct.

                                      CAUSES OF ACTION

                                   COUNT I – DEFAMATION

        86.     Plaintiffs incorporate by reference the averments contained in the foregoing

paragraphs of the Complaint as though fully set forth herein at length.

        87.     Defendant Trump published the above-mentioned statements, innuendos and

implications concerning Plaintiffs, including to individuals in the Eastern District of Pennsylvania.

        88.     The aforementioned statements were of or concerning Plaintiffs, also known as the

“Central Park Five.”

        89.     Individuals who heard said statements, innuendos and implications understood

them to refer to Plaintiffs.

        90.     The statements, innuendos and implications were defamatory per se.

        91.     Defendant Trump made his false and defamatory statements negligently, knowing

they were false, and/or with reckless disregard for their truth or falsity.

        92.     Defendant Trump made his false and defamatory statements with ill will and spite,

and with wanton, reckless or willful disregard for their injurious effects on Plaintiffs.




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           93.   As a proximate result of Defendant’s negligent, malicious, intentional and reckless

conduct as set forth above and herein, Plaintiffs are entitled to such damages as will compensate

them for their reputational damage, emotional pain and suffering, resultant out-of-pocket costs and

expenses, and punitive damages to punish Defendant Trump for his conduct and deter him and

others similarly situated from like acts in the future.

           WHEREFORE, Plaintiffs demand judgment against Defendant Donald J. Trump for

compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in excess

of $75,000, and such other relief as this Court deems just and for a trial by jury on all issues so

triable.

                                    COUNT II – FALSE LIGHT

           94.   Plaintiffs incorporate by reference the averments contained in the foregoing

paragraphs of the Complaint as though fully set forth herein at length.

           95.   Defendant Trump’s statements placed Plaintiffs in a false light that would be highly

offensive to a reasonable person.

           96.   Defendant Trump knew that his statements were false and/or acted in reckless

disregard as to the falsity of his statements and the false light in which they would place Plaintiffs.

           97.   Defendant Trump made his false and offensive statements with ill will and spite,

and with wanton, reckless or willful disregard for their injurious effects on Plaintiffs.

           98.   As a proximate result of Defendant’s negligent, malicious, intentional and reckless

conduct as set forth above and herein, Plaintiffs are entitled to such damages as will compensate

them for their reputational damage, emotional pain and suffering, resultant out-of-pocket costs and

expenses, and punitive damages to punish Defendant Trump for his conduct and deter him and

others similarly situated from like acts in the future.



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           WHEREFORE, Plaintiffs demand judgment against Defendant Donald J. Trump for

compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in excess

of $75,000, and such other relief as this Court deems just and for a trial by jury on all issues so

triable.

           COUNT III – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

           99.    Plaintiffs incorporate by reference the averments contained in the foregoing

paragraphs of the Complaint as though fully set forth herein at length.

           100.   Defendant Trump’s conduct toward Plaintiffs at the September 10 debate was

extreme and outrageous.

           101.   Defendant Trump’s conduct toward Plaintiffs at the September 10 debate was part

of a continuing pattern of extreme and outrageous conduct dating back several years, thus

constituting a continuing tort.

           102.   Defendant Trump’s conduct intentionally and/or recklessly caused Plaintiffs to

suffer severe emotional distress.

           103.   Defendant Trump acted with ill will and spite, and with wanton, reckless or willful

disregard for his conduct’s injurious effects on Plaintiffs.

           104.   As a proximate result of Defendant’s malicious, intentional and reckless conduct as

set forth above and herein, Plaintiffs are entitled to such damages as will compensate them for their

emotional pain and suffering, resultant out-of-pocket costs and expenses, and punitive damages to

punish Defendant Trump for his conduct and deter him and others similarly situated from like acts

in the future.

           WHEREFORE, Plaintiffs demand judgment against Defendant Donald J. Trump for

compensatory damages, for punitive damages and for costs, in an as yet unliquidated sum in excess



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of $75,000, and such other relief as this Court deems just and for a trial by jury on all issues so

triable.

                                           PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs respectfully request that the Court award Plaintiffs

compensatory and punitive damages in an amount to be determined at trial, along with pre- and

post-judgment interest, costs and such other relief as the Court deems just and proper.

                                       DEMAND FOR JURY TRIAL

           Plaintiffs demands a jury trial on all issues so triable pursuant to Rule 38 of the Federal

Rules of Civil Procedure.



DATED:            October 21, 2024




                                                        Respectfully Submitted,

                                                By:            /s/ Shanin Specter
                                                        Shanin Specter, Esquire (No. 40928)
                                                        Alex Van Dyke, Esquire (No. 334456)
                                                        KLINE & SPECTER, P.C.
                                                        1525 Locust Street
                                                        Philadelphia, PA 19102
                                                        (215) 772-1000
                                                        shanin.specter@klinespecter.com
                                                        alex.vandyke@klinespecter.com

                                                        Lead Counsel for all Plaintiffs




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                                   Jane Fisher-Byrialsen, Esquire, pro hac vice
                                   forthcoming
                                   David Fisher, Esquire, pro hac vice
                                   forthcoming
                                   FISHER & BYRIALSEN, PLLC
                                   99 Park Avenue
                                   New York, NY 10016
                                   (303) 256-6345
                                   jane@fblaw.org
                                   david@fblaw.org

                                   Co-Counsel for Plaintiff Wise

                                   Hollis Whitson, Esquire, pro hac vice
                                   forthcoming
                                   SAMLER & WHITSON, P.C.
                                   1600 Stout St. Suite 1400
                                   Denver, CO 80202
                                   (303) 670-0575
                                   hollis@samlerandwhitson.com

                                   Co-Counsel for Plaintiff Wise

                                   Jonathan C. Moore, Esquire, pro hac vice
                                   forthcoming
                                   Marc Cannan, Esquire, pro hac vice
                                   forthcoming
                                   BELDOCK LEVINE & HOFFMAN, LLP
                                   99 Park Avenue
                                   New York, NY 10016
                                   (212) 490-0400
                                   jmoore@blhny.com
                                   mcannan@blhny.com

                                   Co-Counsel for Plaintiffs Salaam, Santana,
                                   Richardson & Brown




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